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                              UNTIED STATES DISTRICT COURT
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                            SOUTHERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                )
11                                            )      Case No.      CR-06-00590-H
                                 Plaintiff,   )
12   vs.                                      )      ORDER GRANTING CONTINUANCE
                                              )      OF SENTENCING HEARING
13   RUBEN OROZCO,[18]                        )
14                                            )
                                 Defendant.   )
15
             Good Cause appearing, the sentencing hearing in this case, currently set for August
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17   31, 2009 at 9:00 a.m. is rescheduled for November 9, 2009 at 9:00 a.m. The Court finds that

18   there is excludable time under Speedy Trial Act. Defendant, Ruben Orozco is currently
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     on bond and has filed Acknowledgment of Next Court Date. All terms and conditions of
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     the bond shall remain in effect.
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22         IT IS SO ORDERED.
23
     Dated: August 14, 2009
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                                        MARILYN L. HUFF, District Judge
25                                      UNITED STATES DISTRICT COURT

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